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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                              CASE NO. 05-20428-CR-JORDAN

   UNITED STATES OF AMERICA             )
                                        )
   vs.
                                        )
   JULIO CESAR IZQUIERDO                )
   ____________________________________ )

                                           ORDER
        The defendant’s motion for termination of supervised release [D.E.246] is DENIED.
                                                                  th
        DONE and ORDERED in chambers in Miami, Florida, this 10        day of June, 2008.



                                                           _______________________
                                                           Adalberto Jordan
                                                           United States District Judge
  Copy to:     All counsel of record
